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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


  DONNA CURLING, ET AL.,
  Plaintiffs,
                                                  Civil Action No. 1:17-CV-2989-AT
  v.

  BRAD RAFFENSPERGER, ET AL.,
  Defendants.


               PROPOSED ORDER GRANTING
 CURLING PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       This matter is before the Court on the Motion for Preliminary Injunction of

Plaintiffs Donna Curling, Donna Price, and Jeffrey Schoenberg (the “Curling

Plaintiffs”).

       Upon considering the motion and supporting authorities, the response from

the Defendants, and the evidence and pleadings of record, the Court finds that

Plaintiffs are likely to succeed on the merits of their claims, that they will be

irreparably harmed if this motion is not granted, that the balance of equities tip in

Plaintiffs’ favor, and that an injunction is in the public interest. See Winter v. Nat.

Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).
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         The Court accordingly GRANTS the motion and issues the relief set forth

below.

      UNTIL FURTHER ORDER OF THIS COURT:

      1. Paper Ballots

      As of the date of this Order, Defendants are enjoined from using any system

or devices for voting that do not use hand-marked paper ballots as the primary

method of recording the elector’s votes, and are specifically enjoined from using the

Dominion ballot-marking device (“BMD”)-based system as the primary voting

method; Defendants are further enjoined to conduct in-person voting in elections by

a hand-marked paper ballot system; Defendants are enjoined to supply a minimum

of one electronic or mechanical ballot marking device per polling location for

assistive voting by paper ballot that meets HAVA/ADA requirements and is

transparent and verifiable; and Defendants are further enjoined to provide a

minimum of one ballot scanner for casting, tabulation, and secure storage of voted

paper ballots at each polling place.

      2. Plan for Compliance

      Authorized representatives of Defendants Raffensperger, Sullivan, Worley,

Mashburn, and Le, and Plaintiffs shall confer, and within 5 days of the entry of this

order, shall file with this Court a plan setting forth the specific steps that the


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Defendants intend to take to comply with the terms of the Court’s Order. The plan

shall include provisions for pre-certification, post-election, manual tabulation audits

of paper ballots and to independently check the accuracy of equipment and

procedures used to tabulate votes in all federal, state, and county elections taking

place in Georgia, using the processes provided for in O.C.G.A. § 21-2-498. The

audit procedures shall be based on well-accepted audit principles that assure a high

probability that incorrect outcomes will be detected and remedied. The plan shall

be set forth in sufficient detail for the Court to evaluate its adequacy.

      3. Attorneys’ Fees and Costs

      Pursuant to 42 U.S.C. § 1988, the Curling Plaintiffs are hereby awarded their

attorneys’ fees and costs for the deprivation of the civil rights arising from the

Defendants’ attempted use of the Election System. The Curling Plaintiffs are

directed to provide evidence sufficient to support any claim for attorneys’ fees and/or

costs within 60 days of the entry of this Order.

      SO ORDERED this ___ day of _________________, 2020.



                                        ________________________
                                        U.S. District Court Judge Amy Totenberg




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